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Inner City Press

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September 9, 2024
By E-mail to Chambers

Hon. Lewis A. Kaplan, United States District Judge
Southern District of New York, 500 Pearl Street, New York, NY 10007

Re: Press opposition to sealing or redaction of identities in Caroline Ellison's
letters of support and other sentencing redactions in US v. Bankman-Fried, et al.,
22-cr-673 (LAK)

Dear Judge Kaplan:

Inner City Press has been covering the above captioned criminal case and earlier
today saw defendant Ellison's request to redact the identities of those submitting
letters of support for sentencing, and other information, The request for secrecy
should not be granted.

Such information is routinely made available in sentencings in this court. The
public has a right to know the information submitted in connection with
sentencing, and the identity of the submitters.

Documents submitted to a court for consideration in.connection with sentencing
are judicial documents entitled to the First Amendment right of access. United
States U. Alcantara, 396 F.3d 189, 199 (2d Cir. 2005).

"Representatives of the press must be given an opportunity to be heard on the
question of their exclusion from a court proceeding, and we have recognized a
similar right of news media to intervene in this Court to seek unsealing of
documents filed in a court proceeding." Trump v. Deutsche Bank AG, 940 F.2d
146, 150 (2d Cir. 2019).

"The common law right of public access to judicial documents is firmly rooted
in our nation's history." Lugosch vy. Pyramid Co, of Onondaga, 435 F.3d 110, 119
(2d Cir, 2006).

Please docket this challenge to the proposed withholding of suretor information,
as this Court did on similar requests to unseal defendant Bankman-Fried's suretors,
our Dkt 31 and also Dkt 40, cited in Order Dkt 41 setting response time-line, and
as SDNY Judges Hellerstein, Castel, Furman and others have done. See, e.g.,
https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nysd.5 16151.85.0.pdf

Inner City Press: In-house SDNY: Room 480, 500 Pearl Street, NY NY 10007
E-mail: Matthew.Lee@innercitypress.com - Tel: 718-716-3540
Regular Mail: Dag Hammarskjold Center, Box 20047, New York, NY 10017

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If appropriate, PLEASE TAKE NOTICE that Inner City Press and its undersigned
reporter, in personal capacity, will move this Court before Honorable Lewis A.
Kaplan, U.S, District Judge for the Southern District of New York, at a date and
time directed by the Court, for entry of an order granting permission to be heard on
sealing or unsealing of the sentencing and other information in the sentencing of
Caroline Ellison in US v. Bankman-Fried, et al., 22-cr-673 (LAK).

Please act on, and docket, this request, as soon as possible before the sentencing.
Thank you.
Respectfully submitted,
Is/
Matthew Russell Lee, Inner City Press

cc: anjan.sahni@wilmerhale.com, nicolas.roos(@usdoj.gov

